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  LHF Productions, Inc.

                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   Hunter Killer Productions, Inc. et al,   )   Case No.: 1:19-cv-00168-LEK-KJM
                                            )   (Copyright)
                     Plaintiffs,            )
      vs.                                   )   PLAINTIFF’S MOTION FOR
                                            )   DEFAULT JUDGMENT AGAINST
   Qazi Muhammad Zarlish, et al.            )   DEFENDANT NGHI PHAN NHAT;
                                            )   MEMORANDUM IN SUPPORT OF
                     Defendants.            )   MOTION; DECLARATION OF
                                            )   COUNSEL; EXHIBITS 1-8; BILL OF
                                            )   COSTS; CERTIFICATE OF
                                            )   COMPLIANCE WITH LR 7.4(b);
                                            )   CERTIFICATE OF SERVICE
                                            )
                                            )

            PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AGAINST
                        DEFENDANT NGHI PHAN NHAT

        Plaintiffs Hunter Killer Productions, Inc., TBV Productions, Inc., Venice PI,

  LLC, Bodyguard Productions, Inc., and LHF Productions, Inc. (“Plaintiffs”), by
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  and through their counsel, respectfully move that this Court enter a default

  judgment in Plaintiffs’ favor for the relief demanded in its Complaint filed on April

  3, 2019, (hereafter: “the Complaint”) pursuant to Fed. R. Civ. P. 55(b)(2) on the

  grounds that Defendant NGHI PHAN NHAT (“Nhat”) has failed to answer or

  otherwise defend the Complaint, and Plaintiffs are entitled to judgment as a matter

  of law against Defendant Nhat. Plaintiff seeks judgment against Defendant Nhat

  for statutory damages in the amount of $150,000, reasonable attorney’s fees in the

  amount of $11,707.5, Hawaii GET taxes of $518.64 and costs of $2639.08 as a

  final judgment.

        Plaintiffs further seek injunctive relief permanently enjoining and restraining

  Defendant Nhat from promoting and distributing the Show Box app and inducing

  and/or contributing to infringements of the Plaintiffs’ copyrighted Works,

  enjoining Defendant’s Registrar Namesilo, provider CloudFlare, and those in

  privity with Defendant Nhat and with notice of the injunction, including any

  Internet search engines, Web hosts, domain-name registrars, and domain name

  registries and/or their administrators that are provided with notice of the injunction,

  from facilitating access to any or all domain names and websites through which

  Defendant Nhat engages in the distribution and promotion of the Show Box app or

  other software applications that induce and/or contribute to infringement of
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  Plaintiffs’ Works. This motion is based upon the Memorandum in Support, the

  Declaration of Counsel, and the pleadings and record herein.


              DATED: Kailua-Kona, Hawaii, September 6, 2019.


                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Plaintiffs
                                 Hunter Killer Productions, Inc.,
                                 TBV Productions, LLC,
                                 Venice PI, LLC,
                                 Bodyguard Productions, Inc., and
                                 LHF Productions, Inc.,
